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April 23, 2020

VIA ECF

The Honorable Michael A. Hammer, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

Re:    Call-in number for status conference at 2:30 P.M. on April 27, 2020, in W.A.O. v.
       Cuccinelli, Civil Case No.: 2:19-cv-11696(MCA)(MHA)

Dear Judge Hammer:

Pursuant to Your Honor’s Text Order (ECF No. 66), I write to confirm that a telephone status
conference has been scheduled on Monday, April 27, 2020, at 2:30 p.m. As requested, I offer the
following call-in information: 855-645-3440 passcode 198852.

Respectfully submitted,

s/ Catherine Weiss
Catherine Weiss

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